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                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 RIGOBERTO CHAVEZ, JR.,                             )
                                                    )
        Plaintiff,                                  )
                                                    )      Case No. 17-cv-03102
                   v.                               )
                                                    )
 RICARDO MARIN, FORMER                              )      Judge Norgle
 WARDEN NIKKI ROBINSON,                             )
 WARDEN DAVID GOMEZ,                                )
 LIEUTENANT CHARLES TRUITT, and                     )      Magistrate Judge Finnegan
 MAJOR REBECCA WORTH,                               )
                                                    )
        Defendants.                                 )


    STIPULATION OF DISMISSAL WITH PREJUDICE UNDER FRCP 41(a)(1)(A)(ii)
    Plaintiff and Defendants, by and through their respective attorneys, pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, stipulate that this case be dismissed, with

prejudice, and with each party to bear its own fees and costs.


It is agreed and so stipulated:


 s/ Steven J. Molitor                                   s/ Andrew O’Donnell
 One of Plaintiff’s Attorneys                           Attorney for Defendants

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